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7
8                   IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )     2:11-CR-00428-GEB
                                      )
12             Plaintiff,             )
                                      )
13        v.                          )     APPLICATION FOR ORDER
                                      )     REGARDING CRIMINAL FORFEITURE
14   BRYAN SMITH,                     )     OF PROPERTY IN GOVERNMENT
     KELLY SMITH,                     )     CUSTODY - 18 U.S.C. §
15   DANIEL GOLDSMITH,                )     983(a)(3)(B)(ii)(II)
     BRUCE GOLDSMITH,                 )
16   ROBERT KLAUS, and                )
     RYDER PHILLIPS,                  )
17                                    )
               Defendants.            )
18                                    )
19        The United States of America, through its counsel, hereby
20   moves for an order allowing the government to maintain custody of
21   property already in the government’s possession pending the
22   resolution of a criminal forfeiture matter.           The grounds for the
23   motion are as follows:
24        On or about June 16, 2011, during the execution of a state
25   search warrant agents seized the following:
26             a. Approximately $256,476.00 in U.S. Currency
               seized at Bryan Smith’s residence located at 9700
27             Palazzo Court, Elk Grove, California, and
28             b. Approximately $16,990.00 in U.S. Currency
               seized during the search of Bryan Smith and in


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1              Bryan Smith’s truck located at his residence.
2         On or about June 16, 2011, during the execution of state
3    seizure orders agents seized the following:
4              c. Approximately $26,231.88 seized from Schools
               Financial Credit Union account number 3506708110,
5              held in the name of Bryan A. Smith, and
6              d. Approximately $12,814.82 seized from JP Morgan
               Chase Bank, account number 845341635, held in the
7              name of R&R Collective, Inc.
8    Hereinafter, the above-referenced assets are referred to as the
9    "seized assets".
10        In accordance with 18 U.S.C. § 983(a)(1), the Drug
11   Enforcement Administration ("DEA") sent notice to all potential
12   claimants of its intent to forfeit the seized assets in a non-
13   judicial forfeiture proceeding, and caused notice to be published
14   in a newspaper of general circulation.
15        On or about September 21, 2011, defendant Bryan Smith filed
16   a claim contesting the administrative forfeiture of the seized
17   assets above pursuant to 18 U.S.C. § 983(a)(2).               On or about
18   September 21, 2011, Ashley Nicole Smith filed a claim contesting
19   the administrative forfeiture of the Approximately $256,476.00 in
20   U.S. Currency pursuant to 18 U.S.C. § 983(a)(2)
21        Pursuant to 18 U.S.C. § 983(a)(3), the United States has 90
22   days in which to 1) return the property to the defendant, 2)
23   commence a civil judicial forfeiture action, or 3) commence a
24   criminal forfeiture action by including the seized assets in a
25   criminal indictment.    On September 29, 2011, the government
26   elected the third option when it filed an Indictment containing a
27   general forfeiture allegation.        On December 9, 2011, the
28   government filed a Bill of Particulars that includes forfeiture



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1    of the seized assets.    The Indictment and Bill of Particulars are
2    now pending in this Court.
3         Title 18 U.S.C. § 983(a)(3)(B)(ii)(II) provides that when
4    the government elects the third option, it must "take the steps
5    necessary to preserve its right to maintain custody of the
6    property as provided in the applicable criminal forfeiture
7    statute".   The applicable forfeiture statute in this case is 21
8    U.S.C. § 853.   That statute prescribes several methods for
9    preserving property for the purpose of criminal forfeiture.
10        Section 853(f) authorizes the issuance of a criminal seizure
11   warrant.    However, in cases like this one, where the property in
12   question is already in government custody, it is not appropriate
13   for a court to issue a seizure warrant directing the government
14   to seize property from itself.        In turn, Section 853(e)
15   authorizes the court to issue a restraining order or an
16   injunction to preserve the property for forfeiture.                 However,
17   that provision is not pertinent because there is no need to
18   enjoin the government from disposing of property that the
19   government has taken into its custody for the purpose of
20   forfeiture, and that the government intends to preserve for that
21   purpose through the conclusion of the pending criminal case.
22        Finally, Section 853(e)(1) also authorizes a court to "take
23   any other action to preserve the availability of property"
24   subject to forfeiture.    The government contends that this
25   provision applies in circumstances where, as here, the government
26   has already obtained lawful custody of the seized assets pursuant
27   to a state search warrant and state seizure orders, and the
28   government seeks to comply with Section 983(a)(3)(B)(ii)(II).



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1    Thus, all that is required to comply with Section
2    983(a)(3)(B)(ii)(II) is an order from this Court stating that the
3    United States and its agencies, including DEA and/or the U.S.
4    Marshals Service, may continue to maintain custody of the seized
5    assets until the criminal case is concluded.
6         Accordingly, pursuant to Section 853(e)(1), the United
7    States respectfully moves this court to issue an order directing
8    that the United States may maintain custody of the seized assets
9    through the conclusion of the pending criminal case, and stating
10   that such order satisfies the requirements of 18 U.S.C.
11   § 983(a)(3)(B)(ii)(II).
12   DATED: 3/13/12                           BENJAMIN B. WAGNER
                                              United States Attorney
13
14                                            /s/ Richard J. Bender
                                              RICHARD J. BENDER
15                                            Assistant U.S. Attorney
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20                                    ORDER
21        This matter comes before the Court on the motion of the
22   United States for an Order authorizing the government and its
23   agencies to maintain custody of certain property pending the
24   conclusion of the pending criminal case.         For the reasons
25   provided in the government’s motion, the Court makes the
26   following orders:
27        IT IS HEREBY ORDERED, that the United States and its
28   agencies, including the DEA and/or the U.S. Marshals Service, are



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1    authorized to maintain and preserve the following assets until
2    the conclusion of the instant criminal case, or pending further
3    Order of this Court:
4                a. Approximately $256,476.00 in U.S. Currency seized
                 at Bryan Smith’s residence located at 9700 Palazzo
5                Court, Elk Grove, California,
6                b. Approximately $16,990.00 in U.S. Currency
                 seized during the search of Bryan Smith and in
7                Bryan Smith’s truck located at his residence,
8                c. Approximately $26,231.88 seized from Schools
                 Financial Credit Union account number 3506708110,
9                held in the name of Bryan A. Smith, and
10               d. Approximately $12,814.82 seized from JP Morgan
                 Chase Bank, account number 845341635, held in the
11               name of R&R Collective, Inc.
12        IT IS SO ORDERED.
13   Dated:    March 14, 2012
14
15                                    GARLAND E. BURRELL, JR.
16                                    United States District Judge

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